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Filing # 153576057 E-Filed 07/19/2022 08:44:17 AM                    CACE-22-010408



                                                             IN THE CIRCUIT COURT OF THE
                                                             SEVENTEENTH JUDICIAL CIRCUIT IN
                                                             AND FOR BROWARD COUNTY,
                                                             FLORIDA

                                                             CASE NO_: CACE-22-010408
         DEVIN GRANDIS, an individual and
         ADVANCED POWER TECHNOLOGIES,
         LLC, a Florida corporation,

                Plaintiffs,

         V.

         BGIS        GLOBAL          INTEGRATED
         SOLUTIONS US LLC, a Washington State
         corporation and BIFM JERSEY TOPCO
         LIMITED, a Jersey limited company,

                Defendants.
                                                         /


                                                  SUMMONS

        THE STATE OF FLORIDA

        To All Singular Sheriffs of Said State

               YOU ARE HEREBY COMMANDED to serve this Summons and a copy of Complaint,

        filed in the above-styled cause, u on the Defendant:

                             BGI GLOBAL INTEGRATED SOLUTIONS US LLC
                       C/O CORPORATION SERVICE COMPANY, TS GISTERED AGENT
                                         1201 HAYS STREET
                                         TALLAH[AssEE, FL 32301-2525

               The Defendant is hereby required to serve written defenses to the Complaint upon Kenneth

        J. Joyce, Esq. and David Robbins, Esq., Plaintiffs' Attomeys, whose address is:

                                   LEWIs BRISBOIS BISGAARD & SMTTH LLP
                                         110 SE 6th Street, Suite 2600
                                            Ft. Lauderdale, FL 33301
                                          ken.Lyice@lewisbrisbois.com
                                        david.robbins(~a,lewisbrisbois.com
                                          linda.yunna,lewisbrisbois.com
                                                    e
                                      kimberly.lowerv@lewisbrisbois.com



          *** FILED: BROWARD COUNTY, FL BRENDA D. FORMAN, CLERK 07/19/2022 08:44:15 AM.****
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         within twenty (20) days after service of this Summons on Defendant, exclusive of the day of

         service, and to file the original of the defenses with the Clerk of this Court either before service on

         Plaintiff's attomey or immediately thereafter. If Defendant fails to do so, a default will be entered

         against Defendant for the relief demanded in the Complaint.

;                WITNESS my hand and seal of said Court this              day of        , 2022.
i

i~                                                      BRENDA D. FORMAN
                           JUL 20 2022                  as Clerk of said Court



                                                        By.
                                                                as




                                                                 BRENDA D. FdRMAN


         If you are a person with a disability who needs any accommodation in order to participate in
         this proceeding, you are entitled, at no cost to you, to the provision of certain assistance. Please
         contact the ADA Coordinator, Room 20140, 201 S.E. Sixth Street, Fort Lauderdale, Florida
         33301, 954-831-7721 at least 7 days before your scheduled court appearance, or immediately
         upon receiving this notification if the time before the scheduled appearance is less than 7 days.
         If you have a hearing or voice disability you can contact the court through the Florida Relay
         Service by calling 711.




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                                                              IN THE CIRCUIT COURT OF THE
                                                              SEVENTEENTH JUDICIAL CIRCUIT IN
                                                              AND   FOR BROWARD      COUNTY,
                                                              FLORIDA

                                                              CASE NO.:
          DEVIN GRANDIS, an individual and
          ADVANCED POWER TECHNOLOGIES,
          LLC, a Florida limited liability company,

                     Plaintiffs,

          V.



          BGIS        GLOBAL          INTEGRATED
          SOLUTIONS US LLC, a Washington State
          corporation and BIFM JERSEY TOPCO
          LIMITED, a Jersey limited company,

                     Defendants.
                                                          /


                                                  COMPLAINT

                    Plaintiffs, Devin Grandis ("Grandis") and Advanced Power Technologies, LLC ("APT"),

         hereby sue the Defendants, BGIS Global Integrated Solutions US LLC ("BGIS") and BIFM Jersey

         TopCo Limited ("BIFM"). BGIS, as purchaser, has breached an Asset Purchase Agreement and

         engaged in subterfiige, calctilated to destroy all benefits Grandis and APT negotiated as

         consideration for selling a twenty-eight-year-old family owned business. The Asset Pui-chase

         Agreement provided a perfoi7nance based purchase price which Grandis augmented with favorable

         business arrangements fi-om his ancillary companies and from his employment. However, once the

         deal closed, BG1S pursued an agenda to eliminate all material consideration for Grandis and APT.

         With Grandis' family owned company's assets locked up for only a portion of the purchase

         consideration, BGIS terminated Grandis and unjustifiably withheld his severance pay in material

         breach of his eniployment agreenient.




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                                 JURISDICTION, PARTIES, AND VENUE

            1.        This is an Action seeking monetary relief in amount greater than $30,000.00.

   Tlierefore, tlhis Action falls within the plenaiy jurisdiction of the Circuit Courts.

            2.        Plaintiff, Devin Grandis ("Grandis"), is and was, at all material times, an individual,

   siri jan•is, residing in Palm Beach County Florida.

            3.        Plaintiff Advanced Power Technologies LLC. ("APT"), is and was, at all material

   tinies, a limited liability company with its principal place of business in Broward County Florida.

            4.        Defendant, BGIS Global Integrated Solutions US LLC ("BGIS"), is and was, at all

   material times, a Washington State limited liability company, witli its principle place of business

   in King County Washington.

            5.        Defendant, BIFM Jersey TopCo Limited ("BIFM") is and was, at all material times,

   a foreign coi-poration with its registered address in Jersey,. BIFM is ptuportedly the parent

   company of BGIS.

            6.        This Court has jurisdiction over this Action pursuant to Florida Statute §48.193

   since Defendants have breached multiple contracts requiring perfoi-mance in Florida. BGIS is

   authorized to transact business in Florida and also conducts, engages in, and carries on business in

   Florida. BIFM agseed to deliver stock options to Grandis in Florida.

             7.       Venue is appropriate in Broward County, pursuant to Florida Statute § 47.011, since

   it is the county in which the contracts at issue were executed and the tortious conduct alleged

   occurred. Additionally, BIFM failed to deliver stock options to Grandis, in connection with his

   employment in Broward County Florida.

             8.       All conditions precedent to the bringing of this Action have been performed,

   excused, satisfied, waived, or have otherwise occun-ed. BGIS lias not cooperated witli the



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   alternative resolution procedures in the Asset Purcliase Agreenient and actively stifled efforts of

   the Plaintiffs by not providing the Plaintiffs access to BGIS cmployees, business inforniation, and

   otherwise failing to act in good faith. Contingency clauses in a contract inherently contain an

   implied duty under which the parties obligated to fiilfil the contingency must make a good faith

   effort toward the satisfaction of the contingency. BGIS therefore waives any right to continue the

   alternative resolution in the Asset Purchase Agreement.

                                        GENERAL ALLEGATIONS

             9.        APT is a family owned company and a leading pi-ovider in the U.S. of electrical,

   lighting, signage, electronic charging station maintenance for automobiles, and energy

   management systems. Grandis founded the upstart business and for the past 28 years has been

   integral to its steady growth. APT now employs approximately 150 employees.

             10.       BGIS is a global provider of facility management, technical services and project

   delivery, energy and sustainability, asset management, and real estate sei-vices, with over 8,000

   employees. APT provided an attractive target for BGIS providing self-performing coverage

   throughout United States, and adding electrical, and lighting services to BGIS' capabilities.

   Developing an infi-astnicture of knowledgeable employees, equipment, software, logistics,

   together with already perfonning customer accounts, would otherwise take years for BGIS to

   develop, at substantial costs.

             11.       BIFM was represented to be the ultimate parent company of BGIS and was to issue

   stock options to Grandis as part of his employment compensation.

             12.       At the end of 2021, BGIS purchased substantially all of APT's business assets for

   a relatively minimal upfi-ont cost including its equipment, vehicles, inventory, intellectual

   property, licenses, teclinology, software, accounts receivables, executory contracts, and goodwill,



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   together with the right to carry on the business of APT. After closing the sale, BG1S engaged in a

   series of actions aimed at manipulating earnings and devaluing and obstructing the business so that

   it could avoid the deferred purchase price based upon the company's financial perfoi-niance.

               13.       Two related agreements are essential to this dispute: (1) the Asset Purchase

   Agreement (hereinafter referred to as the "Agreement") and (2) the "Employment Agreement."

   A.         THL ASSE"1T PURCHASL AGRLEMENT.


               14.       On December 23, 2021, Grandis, APT, Ryster Coip., and Grandis Family

   Partnership LTD on the one hand, entered into the Agreement with BGIS on the other, in which

   BGIS agreed to purchase all of APT's business assets. '             The base price for the assets was

   $4,500,000.00 along with a consignment right to receive two deferred "earnout payments." The

   $4,500,000.00 base price was entirely allocated to pay existiiig debt incurred by APT and did not

   immediately result in income to APT.

               15.       Payment to APT in excess of its debt was instead to be received in the form of two

   earnout payments,'- based upon APT's financial performance for the periods of: (1) January 1,

   2022 through December 31, 2022 and (2) January 1, 2023 through December 31, 2023. Each

   earnout payment is to be calculated by determining APT's earnings before intet-est, taxes,

   depreciation, and amortization (also commonly referred to as "EBITDA") for the relevant period.

   A higher adjusted EBITDA (as defined in the Agreement) would result in a higher earnout payment

   to APT (up to $5,250,000.00 per earnout) based upon calculations set forth in the Agreement. If




   1 The Asset Purchase Agreement (the "Agreement") is voluminous and is therefore not attached to the

   Coniplaint. The Agreement is in possession of all Parties.
   Z An earnout payment is essentially a deferred purcliase price of the company which bases the deferred

   purchase price on the company's performance over the earnout period

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   adjusted EBITDA reaclied the thresholds contained in the Agreement, the total sum of the two

   earnout payments would equal up to $10,500,000.00.

              16.       The Agreement also requires a determination of the "working capital" of APT.

   Working capital is a determination of the liquidity and sufficiency of current assets of a company

   in comparison to its current liabilities. A detei-mination of working capital above the amount of

   $3,337,000.00 (the "Uppei- Collar Amount") would require BGIS to pay APT a sum equal to the

   working capital amount above the Upper Collar Amount. A detennination of working capital

   below the amount of $2,877,000.00 (the "Lower Collar Amount") would require APT to pay BGIS

   a sum equal to the working capital amount below the Lower Collar Amount.

              17.       Pursuant to the Agreement, APT calculated a"Preliminary Working Capital

   Statement" as refei-red to in the Agreement. The Preliminary Working Capital Statement stated a

   figure of $3,127,000.00 for APT's working capital. The Preliminary Worlcing Capital Statement

   was calculated, in part, by taking into account inventory that was less than a year old, as well as

   inventory that was more than a year old, but still in a condition likely able to be sold or used before

   the iteins expiration. The Agreeinent then required BGIS to calculate working capital as of the

   closing date within ninety days of closing, using the same accounting "practices, policies, and

   methodologies" as those used by APT in the formulation of its Preliminary Working Capital

   Statenient.

              18.       The "Term Sheet" between the parties shows that BGIS was provided full access

   to APT's financial information satisfactoiy to it conducting due diligence before signing the

   definitive Agreement. BGIS sent consultants to inspect APT's business and APT uploaded

   substantial financial documentation by which BGIS could determine APT's assets and values. The

   Terni sheet was reaclied as of Novembei- 18, 2021. The Agreement was entered into December 23,



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   2021. In practice, BG1S spent less than a montli examining APT's business and its operations

   althougll full disclosure was provided.

             19.      Grandis also directed other companies he controls to engage in highly favorable

   relationships with APT in order to fi.illy maximize the earnout payments that would result fi•om

   APT's EBITA. For instance, Grandis' company, Creative Lighting, LLC, entered into an

   agreement with APT as of the closing, which granted exclusive distribution rights to sell inventory

   to APT at cost. BGIS's assumption of APT's assets allowed it to gain access to wholesale cost

   inventory as a result of the Agreement. Team E-Motion, LLC and Energy and Environmental

   Design Services, LLC, otlier entities owned by Grandis and related parties, granted APT

   exclusivity for sales or services as a result of BGIS's purchase.

             20.      The Agreement ultimately resulted in BGIS acquiring tnillions of dollars of: (a)

   inventory; (b) APT's account receivables; (c) APT's cuirent and prospective business (d) all of

   APT's equipment; (e) an accomplished and trained workforce3; (g) decades old customers having

   a national presence; and (h) a highly favorable sales relationships with Grandis' other companies.

   B.        THE EMPLOYMENT AGREEMENT.

             21.      Grandis's continued operation of APT is essential to its performance and full

   realization of its eainout potential. Grandis is responsible for bringing in and maintaining millions

   of dollars in revenue, and is uniquely positioned to add substantial value to APT. Therefore, to

   manage APT's affairs, increase earnings, maintain client relations, and ensure that APT's

   performance was maximized to increase its earnout payments, Grandis and BGIS also entered into

   an "Employment Agreement." Grandis was hired to serve as Senior Vice President and General

   Manager. The Employment Agreement provides that Grandis is to be paid $300,000.00 per year



   3   Most of APT's workforce was subsequently hired by BGIS to nianage APT and fulfill its business.

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   (with a significant bonus structure), with an initial tei~rn beginning on January 1, 2022 and ending

   December 31, 2024. (The Employnient Agreement is attached hereto as Exhibit A).

              22.       The Employment Agreement also provides Grandis the right to 500 shares of BGIS'

   parent coinpany, BIFM.

              23.       The Employment Agreement requires that Grandis receive a severance payment in

   the event he is terminated by BGIS "without cause." BGIS would, in that instance, be required to

   pay Grandis liis remaining base salary on an accelerated basis. However, if BGIS tenninated

   Grandis "for cause," it would liave no further employment obligation or liability to Grandis.

              24.       Since Grandis' presence at APT is essential to its performance and maximization

   of EBITDA, the Employment Agreement was drafted narrowly to only allow a termination "for

   cause" in the most extreme of circumstances:

                        "Cause" means BGIS's good faith and reasonable detei-mination that
                        you have engaged in any of the following:

              (i)       Your material failure to perfoi-m your duties and responsibilities to
                        BGIS, including but not limited to, a failure to cooperate with BGIS
                        in any investigation or fonnal proceeding; provided, however, you
                        shall have the right to cure such material failure to the reasonable
                        satisfaction of BGIS (if capable of being cured) within thirty (30)
                        days after delivery by BGIS to yoti of written notice requiring
                        curative action.
              (ii)      Your commission of any act of fi-aud, embezzlement, dishonesty or
                        any other intentional misconduct that results in material injury to
                        BGIS; and
              (iii)     The unauthorized use or disclosure by you of any proprietary
                        infonnation or trade secrets of BGIS or any other party to whoin you
                        owe an obligation of nondisclosure as a result of a commitment you
                        made in good faith; provided, however, you shall have the right to
                        cure such unauthorized use or disclosure to the reasonable
                        satisfaction of BGIS (if capable of being cured) within thirty (30)
                        days after delivery by BGIS to you of written notice requiring
                        curative action.
   (Exhibit A).




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    C.        BGIS' BREACH OF THE ASSET PURCHASE AGREEMENT.

              25.      Upon closing, with APT's assets fiilly under BGIS conti-ol and ownci-ship and the

    ancillary business arrangements with Grandis' other companies firmly established, BGIS

    proceeded to take eveiy oppoi-tunity to devalue, hinder, and impede Grandis and APT fi-om

    perfonning to achieve the earnout payments based on EBITDA.

              26.      BGIS targeted the working capital amount in an effort to devalue APT. As required

    by the Agreement, BGIS provided APT a calculation of adjusted working capital statement as of

    closing. BGIS' $2,159,222.00 adjusted figure for workiiig capital was substantially less than the

    APT's Preliininary Working Capital amount of $3,127,000.00, and was $717,778.00 less than the

    Lower Collar Amount. BGIS' "calculations" if accurate would create a payment obligation from

    APT in the ainount of $717,778.00. With every motive to understate the working capital amount,

    BG1S admittedly did not use the same "practices, policies, and methodologies" as those used by

    APT — as expressly required by the Agreeinent. Working capital was instead calculated by BGIS

    using different practices, policies, and methodologies than those used by APT and did not inch.ide

    sellable inventory that was more than one year old.

              27.      In attempting to reconcile the differing working capital amount statements, despite

    the Agreements terms, BGIS has not allowed APT to interview employees and stifled access to

    financial documentation BGIS claims it based its calculations upon.

              28.      BGIS also did not include certain accounts receivable in the working capital

    statement and represented them as uncollectable bad debt — although BG1S continued to receive

    payments from those APT accounts. BGIS wrote off debt as being uncollectable wliile at the same

    time, receiving the benefit of payment and depositing the funds of these "uncollectable accounts."




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             29.       Additionally, an employee at APT, Catliy Urchisin ("Urchisin") was tasked by

   BGIS (after the purchase) to move APT's accounts receivable data over to BGIS's database. This

    prohibited APT from resolving aged open accounts and discrepancies in invoices to large corporate

    client accounts, resulting in a failure to collect significant receivables during that time. To be clear,

    these large corporate clients demanded that APT reconcile the amounts cliarged on its prior

    invoices before they would provide payment. However, since BGIS prevented employees from

    reconciling the invoices, the funds were not tiiiiely collected, and conveniently not included.within

    BGIS' working capital statement. These uncollected receivables are still collectable by BGIS. This

    breach of good faith materially affected the accounts receivable collection data used by BGIS to

    calculate the working capital statement in the approximate amount of $200,000.00.

             30.       BGIS also delayed in paying APT's accounts payable after the purchase, leading to

    a diminution in reputation and an increase in costs. After the Agreement was executed on or around

    December 31, 2021, BGIS delayed in paying APT's vendors until mid-February of 2022. Because

    of BGIS' delay in timely paying APT's vendors, sliipments by these vendors were put on hold and

    required the purchase of alternative inventoi-y at highei- prices from other sources. This harnied

    goodwill, led to increased costs, and delayed production, materially affecting the EBITDA. It also

    diverted significant operational focus fi-om APT's executives and procurement staff as they rushed

    to repair BGIS' failure to pay.

              31.      Adding insult to injury, BGIS was to establish its own operational accounts but

    failed to do so timely. BGIS then used Grandis' personal credit cards to pay for the goods and

    services which BGIS then failed to timely pay.

              32.      BGIS also has burdened APT with approximately $100,000.00 in salary to a

    reci-uiter, wliile simultaneously removing APT employees from its workforce and repositioning



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   them to identical roles witliin BG1S. BG1S's actions have not only affected the strength of the

   workforce, but has also added to additional costs, botli affecting APT's earnout based on its

   EBITDA.

              33.       Next, BGIS orclhestrated an ouster of Grandis, the individual primarily responsible

    for APT's current and fiiture success.

    D.        BGIS' BREACH OF THE EMPLOYMENT AGREEMENT.


              34.       On April 7, 2022, BGIS tei-ininated Grandis in bad faith and refused to pay him

    severance he is entitled to under the Employment Agreement. By doing so, BGIS avoided having

    to pay approxiinately $825,000.00 in salary, and failed to deliver options for 500 sliares of BGIS'

    parent company, and additional bonuses that could potentially equal 50-100% of Grandis' salary,

    all while simultaneously disrnipting APT's operations with the removal of its Senior Vice President

    and General Manager.

              35.       Grandis' tennination was represented to be based upon a joke he explained to a

    colleague. At a trade show, Grandis was asked by a BGIS employee to explain an off-color joke

    to another BGIS female employee. Grandis was then encouraged to explain the joke by both

    ernployees. The i-equests of both e►nployees, and their long standing relationship Grandis, caused

    Grandis to ultimately capitulate. Grandis thereby explained the joke to the female employee, as

    i-equested.

              36.       Sliortly thereafter, the female employee reported Grandis' telling of an

    inappropriate joke to BG1S. Grandis was subsequently put on leave. Grandis was not interviewed

    or counseled but was instead tei-minated by BGIS "for cause," without severance pay. In twenty-

    eight years of business prior to being hired by BGIS, Grandis has never once been accused of

    inappropriate beliavior, including by the female employee who worked with Grandis for more than



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    four years. Notwithstanding, the defnition of "cause" in the Employment Agreement does not

    permit BGIS to tenninate Grandis "for cause" as a result of telling an immature joke to a coworker.

              37.        Coincidently, both the female employee and BGIS benefited substantially fi•om

    Grandis' pretextual tei-inination. In addition to not having to pay a salaiy or severance to Gi-andis,

    BGIS also failed to issue Grandis the 500 stock options. More importantly, BGIS has nearly

    guaranteed that the earnout payments will assuredly be less with Grandis' absence, since Grandis

    will not be able to use his knowledge, experience, contacts, relationships, and skill to maintain and

    increase APT's earnings.

              38.        The female employee's reporting of Grandis' explanation of a joke to BGIS further

    had the self-serving effect of leading to her promotion and inheritance of Grandis' coiporate clients

    worth inillions of dollars. Grandis' accounts represents approximately 12-15 million dollars in

    revenue to APT, some of which the female employee stood to inherit with the benefit of a 2%

    commission. This further benefted BGIS since it must now pay the female employee and not

    Grandis additional commissions, which materially and practically affects EBITDA and

    consequently diminishes the inonies flowing to APT and Grandis.

    E.        BGIS'S OTHER BAD ACTS.

              39.        On infoi-mation and belief, BGIS also continues to use Grandis' facsiinile stamp to

    endorse documents such as cheques and other payment instruments in Grandis' name. Grandis

    does not agree to BGIS' continued use of his facsimile stamp and has communicated his objection

    to BG1S numerous times. BGIS's misappropriation of Grandis' signathire to verify, execute, or

    void financial instruments is actionable under Florida law as a forgeiy. BGIS makes purchases

    fi-om Creative Ligliting, LLC ("Creative Lighting") for its benefit, despite not owning Creative




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    Lighting. BGIS carries out these unauthorized purcliases by using Grandis' facsimile stamp

    without authorization.

               40.       BGIS' actions show an orchestrated effort to eliminate earnings fi•om APT and

    Grandis' other companies while simultaneously positioning itself to have acquired all of APT's

    assets for far below its value. BGIS has hamstiung APT by terminating Grandis and has failed to

    cooperate witli a resolution of the dispute in good faith by withholding access to BGIS employees

    and financial information froin APT and Grandis. The Plaintiffs have been forced to bring the

    instant Action to recover damages for BGIS' misconduct.

               41.       Notwithstanding an agreement that BGIS would deliver Grandis personal email

    account, BGIS has taken the unreasonable position that the Grandis' personal email account

    belongs to it and has repeatedly refused return it or allow him access.

               42.       BGIS refuses to take Grandis's name off vehicle leases for Sustainable

    Management Solutions, LLC despite agreeing to do so. BGIS's failure to remove Grandis' name

    is materially affecting his creditworthiness and ability to boiTow money.

               43.       The Plaintiffs liave been forced to retain the undersigned attorneys and is required

    to pay them their reasonable fee for the prosecution of this Action.

                         COUNT I: BREACH OF THE EMPLOYMENT AGREEMENT
                                     (G-andis against BGIS and BIFM)

               44.       Plaintiffs reallege and incorporate the "General Allegations" as set forth in

    Paragraphs 1 to 43.

               45.       Grandis and BGIS entered into an Employment Agreement in wliich BGIS

    prornised to employ Gt-andis for $300,000.00 per yeai- (plus bonus), and give Grandis 500 sliares

    of BGIS's parent company, BIFM.




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                46.        Since BGIS and B1FM have coinbined their property (BGIS's casli and B1FM's

    stock options) in conducting a particular business deal, they are considered partnei-s and/or joint

    adventurers for the purposes of Grandis' employment.

                47.        BGIS materially breaclied the Employment Agreement by terminating Grandis for

    "cause" for explaining a joke to a BGIS colleague, per that employee's request. Nothing in the

    Einployment Agreement allows BGIS to terminate Grandis "for cause" for explaining a joke to a

    colleague, especially when such joke did not result in material injury to BGIS. The Einployment

    Agreernent was drafted narrowly to only allow a tennination for cause in the most extreme of

    circumstances.

                48.        BGIS and BIFM also materially breached the Employment Agreement when they

    failed to provide Grandis the 500 stock options he is entitled to under the Employment Agreement.

                49.        BGIS's material breach has damaged Grandis by depriving him of his severance

    pay, i.e., $300,000.00 per year until December 31, 2024 (approximately $825,000.00). BGIS'

    material breach has also resulted in it improperly withholding 500 shares in stock options which

    Grandis is entitled to.

                WHEREFORE, Grandis demands that this Court enter judgment against BGIS and BIFM

    in favor of Grandis for: compensatory damages, and for any further relief this Court may deem

    just and proper.

             COUNT II: BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR
                  DEALING REGARDING THE EMPLOYMENT AGREEMENT
                                   (Grandis against BG1S)

                50.        Plaintiffs reallege and incorporate the "General Allegations" as set forth in

    Paragraphs 1 to 43.




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               51.        A covenant of good faith and fair dealing is iniplied in every contract and imposes

   a duty on each party to act in good faith and deal fairly regarding the pei-formance of a contract.

    Convnon law calls for substantial compliance with the spirit, not just the letter, of a contract in its

    performance. The Employment Agreement is a contract that contains an implied covenant of good

    faith and fair dealing.

               52.        The Employment Agreement provides that BGIS may only terminate Grandis for

    "cause" pursuant to certain terms of the Employinent Agreement. BGIS abused its discretion in

    exercising its ability to terminate under the terms of the Employment Agreement.

               53.        BGIS breached the covenant of good faith and fair dealing by terminating Grandis

    in bad faith for explaining a joke to a colleague upon her request. The spirit of the Employment

    Agreement would not allow Grandis' joke to give rise to a termination "for cause."

               54.        BGIS's breach of the implied covenant of good faith and fair dealing lias damaged

    Grandis by depriving him ofhis severance pay, i.e, $300,000.00 per year until December 31, 2024

    and by depriving him of stock options of BGIS's parent company.

               WHEREFORE, Grandis demands that this Court entei- judginent against BGIS in favor of

    Grandis for: monetary damages, consequential damages, lost profits, and for any fiirther relief this

    Court may deem just and proper.

                      COUNT III: BREACH OF THE ASSET PURCHASE AGREEMENT
                                         (APT against BGIS)

               55.        Plaintiffs reallege and incoi-porate the "General Allegations" as set forth in

    Paragraphs 1 to 43.

               56.        APT entered into the Agreement with BGIS for the sale of assets of APT to BGIS.

                57.       The Agreement provides that both parties are to calculate and then agree on a

    Working Capital Amouwit which may result in payment from one party to the other pursuant to the


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    tenns of the Agreement. The Agreement i-e uires that BG1S use the same "practices, policies, and

    methodologies" as those used by APT in the Preliminary Working Capital Statement when

    calculating BGIS' working capital statement.

              58.       BGIS materially breached the Agreement by not using the same practices, policies,

    and methodologies as those used by APT by, at a minimum:

                        a. Not including certain accounts receivable which had current payments with

                           APT in the Worlcing Capital Aniount Calculation.

                        b. Not including likely sellable inventory which was more than one year old.

              59.       Further, BGIS did not let Urchisin, the accounts receivable manager, resolve

    outstanding payments fi-om large corporate clients, which materially affects BGIS' working capital

    statement calculation.

              60.       APT has been damaged by BGIS's material breach of the Agreement since the

    working capital amount was not adjusted as required by the Agreernent, leading to BGIS claiming

    an adjustment resulting in an obligation by APT to pay BGIS $717,778.00, and failing to determine

    the true amount.

              WHEREFORE, APT demands that tliis Court enter judgment against BGIS in favor of the

    APT for: compensatory damages, and for any fui-ther relief tliis Court may deem just and proper.

          COUNT IV: BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR
                       DEALING REGARDING THE AGREEMENT
                                 (APT against BGIS)

              61.       Plaintiffs reallege and incorporate the "General Allegations" as set forth in

    Paragraphs 1 to 43.

              62.       A covenant of good faith and faii- clealing is iniplied in every contract and imposes

    a duty on eacli party to act in good faith and deal fairly regarding the contracts perfoi-inance.



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    Common law calls for substantial compliance with the spirit, not just the letter, of a contract in its

    perfonnance. The Agreement, as any other, therefore contains an implied covenant of good faith

    and fair dealing.

              63.       The Agreement provides that BGIS must provide an adjusted working capital

    statement to APT, which calls for the implementation of precise principles, practices, policies, and

    methodologies to be used to make that calculation.

              64.       BGIS breached the covenant by not using good faith and fair dealing, abusing its

    discretion and obligations under the parameters of the Agreement by, at a minimum:

                        a. Not including certain accounts receivable which had current payments with

                           APT in the Working Capital Amount Calculation.

                        b. Not including inventory that reinained lilcely saleable but which was more than

                           one year old.

              65.       Further, BGIS did not let Urchisin resolve outstanding payments from large

    corporate clients, whicli materially affected BGIS' working capitals statement calculation.

              66.       APT lias been damaged by BGIS's material breach of the Agreenient since the

    working capital amount was not adjusted as required by the Agreement, leading to BGIS claiming

    an adjustment resulting in an obligation by APT to pay BGIS $717,778.00, and failing to detennine

    the true amount.

              WHEREFORE, APT demands that this Court enter judgment against BGIS in favor of the

    APT for: monetary damages, consequential dainages, lost profits, and for any fiu-ther relief this

    Court may deem just and proper.




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         COUNT V: CIVIL REMEDY FOR CRIMINAL ACTIVITIES UNDER FLA. STAT.,
                                       772.104
                               (Grandis against BGIS)

              67.      Plaintiffs reallege and incorporate the "General Allegations" as set forth in

    Paragraphs 1 to 43.

              68.      After Grandis was terininated, upon infoi-ination and belief, BGIS continued to use

    Grandis' facsimile stamp in order to approve docurnents, enter into contract, authorize activities,

    and/or remove funds from bank accounts. Grandis does not, and did not, allow BGIS to use his

    facsimile stamp after his tennination. BGIS's activity is considered "Criminal Activity" as defined

    in Fla. Stat., §772.102(24).

              69.      The precise date and time of each alleged violation of Florida Statute ¶772.1044

    will be confirmed in discovery as to the specific date and titne that each document was unlawfully

    stamped.

              70.      Upon information and belief, BGIS has used Grandis' facsimile stamp: (1) to

    directly or indirectly collect proceeds; (2) to collect on an unlawful debt; (3) to invest; and (4) to

    acquire or maintain title, rights, interest, and equity in property or in the operations of an enterprise.

    The precise misconduct will be revealed during discovery.

              71.      Grandis has been damaged by BGIS's criminal activity, the precise amount of

    which will be revealed in discovery.

              WHEREFORE, Grandis demands that this Court enter judgment against BGIS in favor of

    Grandis for: monetary damages, consequential damages, lost profits, treble damages, attorney's

    fees and court costs, and for any further relief this Court may deem just and proper.




    4   See also Florida Statutes, Chapter 831.


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              COUNT Vl: SECURITIES FRAUD UNDER FLORIDA BLUE SKY LAWS
                         (Grandis against BGIS and BIFM TopCo Lirnited)

             72.       Plaintiffs reallege and incorporate the "General Allegations" as set forth in

    Paragraphs l to 43.

             73.       Under Fla. Stat. Ann. § 517.301, it is unlawful to engage in fraud in connection

    with the offer, sale or purchase of any investnient or security. With few exceptions, a securities

    fi-aud claim under that act is nearly identical to a securities fi-aud claim under the related federal

    law. Chapter 517 is titled the "Florida Securities and Investor Protection Act and is commonly

    referred to as Florida' Blue Sky Laws.

             74.       On December 21, 2021, BGIS and BIFM, through its authorized representatives,

    misrepresented to Grandis that BGIS would offer to Grandis options to purchase shares of its

    parent company, BIFM. At the time the representation was made, BGIS knew that it had no

    intention to provide Grandis with shares in the parent company BIFM and that it would cause

    Grandis to be tenninated from BGIS prior to the options being given to Grandis.

             75.       Stocic options are a security. The option to purchase the stocks of BSFM is: (1) an

    investment of money, (2) in furtherance of a common enterprise to fiind BIFM, and (3)

    contemplates an expectation of profit derived by Grandis solely by the efforts of BIFM. Further

    stocks are a per se security pursuant to Florida Statute §517.021.

              76.      Grandis relied to his detriment on BGIS's misrepresentation in the Employment

    Agreement regarding the stock options and executed the Agreement and Employment Agreeinent

    without pursuing alternative consideration for doing so.

              77.      Grandis has been damaged by BGIS's misrepresentation regarding the stock

    options by being a party to the Agreement and Employment Agreement without receiving




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    consideration he would have othei-wise bargained for had Grandis known that BGIS never intended

    to give liim the stock options.

               WHEREFORE, Grandis respectfully requests that this Court enter a judgment against

    BGIS and BIFM in Grandis' favor for: monetary damages, consequential damages, compensatory

    damages, incidental damages and such other relief as the Court deems just..

                                          DEMAND FOR JURY TRIAL

               Plaintiffs requests a jury trial for all causes of action so triable.


    Dated: July 15, 2022                                Respectfully submitted,

                                                        LEWIS BRISBOIS BISGAARD & SMITH LLP
                                                        Counselfor Plaintiff
                                                        110 Southeast Sixth Street, Suite 2600
                                                        Fort Lauderdale, Florida 33301
                                                        Telephone: (954) 728-1280
                                                        Facsimile: (954) 678-4090
                                                        E-Service: ftlemaildesig@lewisbrisbois.com


                                                        By: s/Kenneth J. Joyice
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                    EX IBIT A
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                                (NR?O}IATIt;tV
                                                        210 S. Hudson Street
                                                        Suite
                                                                   98134




                                                                               PERSONAL AND CONFIDENTIAL
   December 21, 2021

   Devin Grandis

   Dear Devin,

   We are delighted to conflrm that BGIS Global Integrated Solutions US LLC ("BGIS'~ has agreed to acquire
   the business from Advanced Power Technologies LLC ("APT"). We expect the acquisition to occur on
   December 31, 2021 ("Acquisition Date") with a transition to be completed shortly afterwards.
   In connection with the acquisition, we are excited to present to you this offer of employment as follows:
       •      Your initial role within the company will be as the Senior Vice President and General Manager
       •      The position is full-time.
       •      Your People Leader will be Mark Marquis.
       •      The location of the position is Pompano Beach, FL.
       •      Your start date with BGIS will be no later February 7, 2022 and is subject to the transition of
              services from APT to BGIS.

    Compensation Structure
    Base Salary:   Your starting base salary will be $300,000 gross per year and the position is considered
                   exempt, under the Fair Labor Standards Act.
    Bonus:               The BGIS annual bonus program is known as the Optimizer Annual Incentive Award
                         ("OAIA"). Upon your commencement of employment with BGIS, you will be invited to
                         participate in BGIS's OAIA Plan, subject to its terms and conditions, including the
                         following:
                          (i)   your target bonus eligibility will be 50% of your base salary (with a multiplier of
                                potentially up to 100% of your base salary based on results exceeding the
                                financial plan); and
                          (ii) the payment of the target bonus, or any bonus, is condition upon the company
                               achieving financial performance thresholds.
                          Notwithstanding the foregoing, the OAIA Plan details will be provided to you within the
                          first 90 days of your employment. Management reserves the right to make changes to
                          the OAIA Plan as business needs dictate.
    Equity:              Subject to Board approval, you will be granted an option to purchase 500 shares of
                         BIFM Jersey TopCo Limited, the ultimate parent entity of BGIS, which will be evidenced
                         by, and subject to the terms and conditions included in, an award agreement in the form
                         attached as Exhibit A.




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    Severance:        Executive severance is being offered to you. You may terminate your employment upon
                      giving BGIS not less than 60 days' written notice.
                      If your employment is terminated:
                      (i)    by BGIS with Cause, then BGIS shall have no further employment obligation or
                             liability to you under this Employment Agreement;
                      (ii)   during the Initial Period by BGIS without Cause, then you shall be paid by BGIS,
                             on an accelerated basis, as severance, within 30 days of separation and in
                             exchange for a signed release in favor of BGIS all amounts due in base salary
                             for the remaining portion of the Initial Period;
                      (iii) after the Initial Period by BGIS without Cause, then you shall be paid by BGIS,
                            on an accelerated basis, as severance, within 30 days of separation and in
                            exchange for a signed release in favor of BGIS, (a) the equivalent of 6 months of
                            your base salary; and (b) the equivalent of your target bonus pro-rated for your
                            time employed with BGIS in the calendar year up to the termination date.
                      The foregoing definition does not in any manner limit the company's ability to terminate
                      your employment at any time.
                      For the purpose of this offer,
                      "Cause" means BGIS's good faith and reasonable determination that you have
                      engaged in any of the following:
                      (i)    your material failure to periorm your duties and responsibilities to BGIS, including
                             but not limited to, a failure to cooperate with BGIS in any investigation or formal
                             proceeding; provided, however, you shall have the right to cure such material
                             failure to the reasonable satisfaction of BGIS (if capable of being cured) within
                             thirty (30) days after delivery by BGIS to you of written notice requiring curative
                             action;
                      (ii)   your commission of any act of fraud, embezzlement, dishonesty or any other
                             intentional misconduct that results in material injury to BGIS; and
                      (iii) the unauthorized use or disclosure by you of any proprietary information or trade
                            secrets of BGIS or any other party to whom you owe an obligation of
                            nondisclosure as a result of a commitment you made in good faith; provided,
                            however, you shall have the right to cure such unauthorized use or disclosure to
                            the reasonable satisfaction of BGIS (if capable of being cured) within thirty (30)
                            days after delivery by BGIS to you of written notice requiring curative action.
                      "Initial Period" means the period commencing on January 1, 2022 and ending at the
                      expiry of December 31, 2024.


    Benefits, 401(k), Paid Time Off and Holidays:
    Benefits are important piece of your total rewards package. As BGIS goes through this transition, you will
    remain on the current benefits provided by Advanced Power Technologies LLC to provide continuity. In
    2022, BGIS will review the benefit package and make you aware of any changes.


    Position and Career Enhancements
    The following are presented in support of your starting role and to encourage you in your career
    progression at BGIS:



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    Mileage:           BGIS will reimburse your work-related auto expenditures through a mileage
                       reimbursement plan at the IRS approved rates.
    Training:          BGIS prides itself on growing and developing our team members. We look forward to
                       providing you with location specific training opportunities that meet your personal &
                       professional goals.


    These team member benefits, options and compensation structures are subject to change from time to
    time. Eligibility for health, life, disability, and retirement benefits is determined by the terms of the specific
    plans.

    Confidentialitv and Intellectual Propert

    BGIS and its affiliated companies have invested substantial time, money and resources in developing
    proprietary and confidential information and trade secrets in a wide variety of areas, including technology,
    marketing and work processes. BGIS will provide you with the proprietary and confidential information and
    trade secrets that BGIS believes necessary for you to pen`orm well and to develop new skills. "Confidential
    information" includes any non-public information relating to the business, operations, financial affairs,
    performance, assets, technology, processes, plans, personnel, customers, and suppliers of BGIS or its
    customers. You will, as part of your normal work, also contribute to the development of BGIS proprietary
    and confidential information and trade secrets. You,

    (a)     must not make use of any confidential information for your own purposes or the benefit of any
            person other than BGIS,

    (b)     must keep the confidential information in the strictest confidence, and

    (c)     must not copy, use or disclose to others any confidential or proprietary information or trade secrets
            of BGIS, its subsidiaries or affiliates, or customers for so long as such information or trade secrets
            remain confidential or proprietary, except as specifically authorized by BGIS in writing, either during
            the period you are employed by BGIS or at any time thereafter. By way of example, any client
            information provided in the performance of the job would be considered BGIS information.

    Notwithstanding any other provision, nothing in this offer prohibits or restricts you in any way from providing
    information to a government authority pursuant to applicable whistleblowing regulations.

    For any patentable invention arising out of, or in the course of your employment, such invention shall be
    the exclusive property of BGIS, and BGIS shall have the exclusive right to file patent applications in BGIS
    name in connection with those inventions. You must cooperate with BGIS and provide all necessary
    assistance in the filing and processing of such patent applications. Furthermore, you agree to waive any
    and all moral rights, and any similar rights, you may have with respect to any copyrights, inventions or other
    intellectual property arising out of, or in the course of your employment.

    This offer of employment is contingent upon you successfully passing a pre-employment drug and alcohol
    screen, complying with the requirements of the Immigration Reform and Control Act. The offer letter is also
    contingent upon successful outcomes of criminal background, credit, education, and reference checks. In
    some cases, this includes successfully passing a client background check and security clearance.

    The offer of employment at BGIS is not for a specific duration of time. BGIS is an at-will employer. Should
    you accept this offer, either you or BGIS may terminate employment at any time and for any reason.

    If this offer is acceptable to you, please confirm your acceptance by returning a signed copy of this offer
    letter to my attention. Please feel free to call me at (206) 294-9115 if you have any questions about this
    offer.


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   Yours truly,


          ~
    Sherry L. Pelletier, SCP & SPHR
    VP, Human Resources
    E: sherry.pelletier@bgis.com

    Attachments

    I hereby agree to the contents of the foregoing letter and accept this offer of employment as presented. It
    is my understanding that this letter does not constitute an employment contract but is only an offer of
    employment and does not override the at-will employment status.



     Signature


     Printed Name


     Date




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